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                              No. 23-40556

             In the United States Court of Appeals
                     For the Fifth Circuit

                        BLAKE J. WATTERSON,
                                                           Plaintiff-Appellant,
                                       v.
BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND
EXPLOSIVES; STEVEN DETTELBACH, in his official capacity as
Director of the Bureau of Alcohol, Tobacco, Firearms and Explosives;
UNITED         STATES        DEPARTMENT           OF      JUSTICE;
MERRICK GARLAND, U.S. Attorney General; UNITED STATES
OF AMERICA,
                                                Defendants-Appellees.


          On Appeal from the United States District Court
                 for the Eastern District of Texas

                  APPELLANT’S REPLY BRIEF


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                             INTRODUCTION

     The Department’s response brief is unpersuasive for several

reasons.   Principally, it relitigates a jurisdictional issue which has

already been fully briefed, it does not apply the proper analyses for this

case’s constitutional issues, and it otherwise mischaracterizes the

Department’s activity under the relevant law. It therefore fails to show

that the district court correctly denied Watterson’s motion for

preliminary relief.

                               ARGUMENT

I.   THIS COURT HAS JURISDICTION OVER WATTERSON’S APPEAL.

     Rather than respond to Watterson’s merits arguments, the

Department spends a significant portion of its appellate brief relitigating

the jurisdictional issues already addressed in the motion-to-dismiss

briefing. Since that briefing concluded, this Court has ordered briefing

on the merits, see ECF No. 29, and this case’s constitutional and statutory

questions are now presented squarely, as the Court requested.

     There is no reason this Court should now dispose of this case and

require Watterson to refile and re-brief his appeal, simply to attach it to

one particular district court denial rather than another. That would

defeat the purpose of this Court’s March 21 order that the current
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briefing be “carried with the case,” ECF No. 68, and would obstruct this

Court’s March 25 request for merits briefing, ECF No. 71. The Court

should ignore the Department’s attempts to absorb it in an already-

litigated issue. The Court should instead acknowledge its jurisdiction

over this case and proceed to its decision on the motion, which is fully

briefed upon the filing of this reply.

      As Watterson has shown, see ECF Nos. 35, 66, this Court has

jurisdiction over this case because under 28 U.S.C. § 1292(a)(1) it may

review “orders that explicitly grant, continue, modify, refuse, or dissolve

injunctions or that refuse to dissolve or modify injunctions, as well as to

those that have the practical effect of doing so.”                 “It’s generally

understood that a motion for preliminary injunctive relief ‘must be

granted promptly to be effective,’ so if a district court does not timely rule

on a preliminary-injunction motion, it can effectively deny the motion.

We have accordingly recognized that simply sitting on a preliminary-

injunction motion for too long can effectively deny it.” In re Fort Worth

Chamber of Commerce, 2024 U.S. App. LEXIS 10849, at *8 (5th Cir. May

4, 2024) (quoting 16 WRIGHT & MILLER, FED. PRAC. AND PROC. § 3924.1

(3d ed.)).


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     Before the district court eventually ruled on Watterson’s motion for

an injunction and motion to modify that injunction, that court’s failure to

provide relief beyond the issuance of the mandate in Mock v. Garland

had the “practical effect” of “deny[ing] a preliminary injunction.” See

Clarke v. CFTC, 74 F.4th 627, 635 (5th Cir. 2023) (quoting Carson v. Am.

Brands, Inc., 450 U.S. 79, 83 (1981)). See also United States v. 1407 N.

Collins St., 901 F.3d 268, 272 (5th Cir. 2018) (collecting cases); McCoy v.

La. State Bd. Of Educ., 332 F.2d 915, 917 (5th Cir. 1964); United States

v. Lynd, 301 F.2d 818, 822 (5th Cir. 1962); 11A WRIGHT & MILLER, FED.

PRAC. AND PROC. § 2962 (3d ed.) (“[W]hen a court declines to make a

formal ruling on a motion for a preliminary injunction, but its action has

the effect of denying the requested relief, its refusal to issue a specific

order will be treated as equivalent to the denial of a preliminary

injunction and will be appealable.”).

     Additionally, the district court’s “explicit[]” order on March 1, 2024,

denying Watterson’s preliminary motions, unquestionably provides this

Court with jurisdiction under § 1292(a)(1).             Whether this Court’s

appellate jurisdiction is based on the district court’s effective denial or

the district court’s “explicit[]” denial is at this point inconsequential


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because an appellate court may “exercise[] jurisdiction over a premature

notice of appeal when, subsequent to the filing of that notice of appeal

and prior to our consideration, the district court entered a final

judgment.” Thomas v. Pohlmann, 681 F. App’x 401, 404-05 (5th Cir.

2017) (per curiam).      The Department’s attempt to cabin Thomas’s

reasoning to situations involving “final judgment[s]” is unpersuasive.

     The     Department     relies     on     Calmaquip       Engineering       West

Hemisphere Corp. v. West Coast Carriers, Ltd. to support its strained

jurisdictional argument. 650 F.2d 633, 635-36 (5th Cir. Unit B 1981).

But, if anything, that case supports Watterson’s position because the

Court there faced two appeals of the same ruling and simply dismissed

the redundant, premature one. Id. Here, the Court faces only one appeal

and may simply preempt any redundancy by refraining from ordering

another appeal.       Moreover, Watterson’s notice of appeal was not

premature because, when it was filed, the district court had already

effectively denied Watterson’s preliminary motions, and that denial is

appealable    under    § 1292(a)(1).         Lastly,   the    Calmaquip         Court

“emphasize[d]” that “the appellant suffer[ed] no prejudice” from that

dismissal, where it already had an another appeal before the Court. Id.


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at 636. Here, requiring the parties to refile and re-brief the merits would

cause Watterson prejudice because it would delay his relief from the

violation of his constitutional rights. 1

II.     WATTERSON IS LIKELY TO SUCCEED ON THE MERITS.

      A. The Rule, and the Statutes If the Rule Properly Interprets
         Them, Violate the Second Amendment.

        The Department continues to misapply the Second Amendment

framework articulated by the Supreme Court in New York State Rifle &

Pistol Ass’n v. Bruen, 597 U.S. 1 (2022).                There the Supreme Court

provided the following test—and the following test only—as the proper

analysis for determining whether the Second Amendment has been

violated:

        [W]hen the Second Amendment’s plain text covers an
        individual’s conduct, the Constitution presumptively protects
        that conduct. To justify its regulation, the government …
        must demonstrate that the regulation is consistent with this
        Nation’s historical tradition of firearm regulation.

Id. at 17.




1 Similarly, SEC v. Hallam is inapposite because it involved an appellant’s failure to

raise arguments in its opening brief. 42 F.4th 316, 327 (5th Cir. 2022). Watterson
has exhibited no such failure, and his substantive arguments have not changed now
that the district court’s denial of relief for him is express.
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        The Bruen test is emphatically not the two-part test annunciated in

District of Columbia v. Heller, 554 U.S. 570 (2008), that “[(1)] the

government may justify its regulation by establish[ing] that the

challenged law regulates activity falling outside the scope of the right as

originally understood … based on its historical meaning… [and if at least

inconclusively protected, then (2)] analyze … the severity of the law’s

burden on that right.” Bruen, 597 U.S. at 18 (quotations omitted). Bruen

jettisoned this test. Id. at 19. The Department therefore errs by applying

Heller’s first step—its historical analysis—where Bruen instead creates

a rebuttable presumption of constitutionality based on the Second

Amendment’s plain text.

        Under the correct test, in Bruen, it is only after that presumption

has been created that the historical analysis is undertaken to rebut it

and justify the restriction. Unlike in Heller, where the Court “relied on

the historical understanding of the Amendment to demark the limits on

the exercise of that right,” 554 U.S. at 626, Bruen relies on history and

tradition to defend the restriction where the Second Amendment’s plain

text covers it. Both the Department and the district court misunderstood

this.


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      Multiplying its error, the Department uses yet more language from

Heller to argue “dangerous and unusual” weapons are excluded from the

right altogether. Appellees’ Br. at 32. This analysis does not follow

Bruen because it attempts to exclude certain arms from constitutional

protection rather than rebut the presumption of their constitutionality.

Moreover, the term “dangerous and unusual” is dicta, even in Heller, and

is not a standard for determining whether a firearm restriction is

constitutional. See Heller, 554 U.S. at 627.            Indeed, the discussion in

Heller where this broad and subjective term is used actually emphasizes

that weapons “in common use at the time” are protected. 2 Id.

      Under Bruen, the Second Amendment’s plain text covers pistols

with attached stabilizing braces because they are “bearable arms, even

[though they] … were not in existence at the time of the founding.”

Bruen, 597 U.S. at 28. See also Frein v. Pa. State Police, 47 F.4th 247,

254 (3d Cir. 2022) (“[T]he Supreme Court recently instructed us to closely

scrutinize all gun restrictions for a historically grounded approach.”).

The government therefore bears the burden of “demonstrat[ing] that the


2 Even so, stabilizing braces are not dangerous and unusual.   See Appellant’s Br. at
28-31. Instead, they make pistols “safer.” Mock v. Garland, 75 F.4th 563, 588 (5th
Cir. 2023) (Willett, J., concurring). They are also in common use because between 3
million and 40 million of them have been sold. ROA.195, 258.
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regulation is consistent with this Nation’s historical tradition of firearm

regulation,” and it may not “simply posit that the regulation promotes an

important interest.” Id. at 17. Here, rather than bear its burden under

Bruen, the Department’s attempts to exclude certain firearms altogether

from the scope of the right, and does so by arguing the Rule, as well as

the National Firearms Act (“NFA”) and the Gun Control Act (“GCA”)

(collectively, the “statutes”), promote an important interest.

      This approach is not supported by the caselaw. The Department

cites United States v. Miller, 307 U.S. 174 (1939) to argue the arms at

issue here are not even covered by the Second Amendment. Appellees’

Br. at 33. But Miller was written long before Bruen crystalized the

proper analysis for Second Amendment claims, and before Heller even

articulated an individual right to keep and bear arms. The Department

cites Miller and Heller to argue short-barreled rifles fall outside the

Second Amendment’s scope. Id. at 32-39. Yet it makes no attempt to

show pistols with attached stabilizing braces are in fact short-barreled

rifles.     More fundamentally, short-barreled rifles themselves—and

certainly pistols with attached stabilizing braces—do not fall outside the




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scope of Bruen’s presumption, for which the touchstone is whether the

arm is “bearable.” 597 U.S. at 28.

     Watterson is likely to succeed on the merits of his Second

Amendment claim. The Department has not addressed the fact the Rule

and the statutes fall within the Second Amendment’s plain text. It has

consequently not carried its burden of showing the Rule, and statutes

insofar as the Rule correctly interprets them, are analogous to the

Nation’s history and tradition of firearm regulation, as it is required to

do under Bruen.    This Court should reject the Department’s line of

argumentation because it flouts binding Supreme Court precedent. The

Rule does not accord with the Nation’s historical firearm regulations.

  B. The Rule Violates Separation-of-Powers Principles.

     Aside from violating the Second Amendment, the Rule also violates

the structural provisions of the Constitution. The Department suggests

any delegation of power by Congress to an executive agency is permissible

so long as it guided by an intelligible principle, and then proceeds to

analyze this case as if courts have made no meaningful distinction

between legislative and executive activity. However, first, Congress may

not delegate the sort of inherently legislative activity captured by the


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Rule. Second, in any case, Congress provided no intelligible principle

here to guide the Department’s enforcement of the statutes.

      1. Congress may not delegate inherently legislative activity.

      The Department argues any delegation is “constitutional so long as

Congress lay[s] down by legislative act an intelligible principle to which

the person or body authorized to [exercise the delegated authority] is

directed to conform.” Appellees’ Br. at 25 (quoting Mistretta v. United

States, 488 U.S. 361, 372 (1989)).             This cannot be the case.            This

overbroad argument neglects centuries of case law—and Founding Era

documents3—highlighting the difference between legislative and

executive activity in the context of delegations of power.                 It is well-

established “law-making power—the ability to transform policy into real-

world obligations—lies solely with the legislative branch.” Vanderstok v.

Garland, 86 F.4th 179 (5th Cir. 2023).

      “How much lawmaking power? ‘All,’ declares the Constitution’s

first substantive word.” Forrest Gen. Hosp. v. Azar, 926 F.3d 221, 228




3 See, e.g., The Federalist Nos. 47-51 (James Madison).Justice Thomas has observed
that the Framers of the Constitution “were concerned not just with the starting
allocation, but with the ‘gradual concentration of the several powers in the same
department.’” DOT v. Ass’n of Am. R.R., 135 S. Ct. at 1244 (2015) (Thomas, J.,
concurring in the judgment) (quoting The Federalist No. 51, at 321 (James Madison)).
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(5th Cir. 2019). This is because vesting the executive branch with the

“right of both making and of enforcing the laws” is the definition of “a

tyrannical government.” DOT v. Ass’n of Am. R.R., 575 U.S. 43, 72-74

(2015) (Thomas, J., concurring) (citing 1 WILLIAM BLACKSTONE,

COMMENTARIES ON THE LAWS OF ENGLAND (1765); and JOHN LOCKE,

SECOND TREATISE OF CIVIL GOVERNMENT § 22, p. 13 (J. Gough ed. 1947)).

     While “Congress may certainly delegate to others powers which the

legislature may rightfully exercise itself,” Wayman v. Southard, 23 U.S.

(10 Wheat.) 1, 43 (1825), it cannot reassign powers that have been

“assigned by the Constitution to the exclusive jurisdiction of any one of

the three Branches of Government.”           Mistretta, 488 U.S. at 364.

Accordingly, “Congress manifestly is not permitted to abdicate, or to

transfer to others, the essential legislative functions with which it is thus

vested.” Panama Refining Co. v. Ryan, 293 U.S. 388, 421 (1935). The

purpose of the nondelegation doctrine is to “bar[] Congress from

transferring its legislative power to another branch of Government.”

Gundy v. United States, 139 S. Ct. 2116, 2121 (2019).

     Courts have long expressed that the bar on delegation hinges on the

nature of the delegated power, rather than merely its extent or the


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standards by which it is delegated, as the Department suggests. The

“test of permissible delegation should look not to what quantity of power

a statute confers but to what kind—statutes should be permitted to

create an occasion for the exercise of executive or judicial power, but not

to delegate legislative power.”        David Schoenbrod, The Delegation

Doctrine: Could the Court Give It Substance?, 83 MICH. L. REV. 1223, 1227

(1985).

     The essential question “is whether the particular function requires

the exercise of a certain type of power, [because] if it does, then only the

branch in which that power is vested can perform it.” Ass’n of Am. R.R.,

575 U.S. at 69 (2015) (Thomas, J., concurring in the judgment) (emphasis

added).   And because “legislative power is nondelegable,” Loving v.

United States, 517 U.S. 748, 777 (1996) (Scalia, J., concurring in part and

concurring in the judgment) it follows, “[s]trictly speaking, there is no

acceptable delegation of legislative power,” Mistretta, 488 U.S. at 419

(Scalia, J., dissenting) (emphasis added).

     Indeed, the Department’s over-emphasis on intelligibility “would

serve only to accelerate the flight of power from the legislative to the

executive branch, turning the latter into a vortex of authority that was


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constitutionally reserved for the people’s representatives in order to

protect their liberties.”   Gundy, 139 S. Ct. at 2142 (Gorsuch, J.,

dissenting). See also Ass’n of Am. R.R., 575 U.S. at 76-86 (Thomas, J.,

concurring in the judgment) (explaining the problems with a less robust

use of the nondelegation doctrine). To guard against this, the Court

should view the issue not as a difference between permissible and

excessive delegation, but between non-legislative activity and inherently

legislative activity.

      Courts have repeatedly identified a distinction between legislative

and executive activity. However, it remains true “[t]he line has not been

exactly drawn which separates those important subjects, which must be

entirely regulated by the legislature itself, from those of less interest,”

Wayman, 23 U.S. (10 Wheat.) at 43. As it stands, agencies may be left to

“fill up the details.” Indus. Union Dep’t, AFL-CIO v. API, 448 U.S. 607,

675 (1980) (Rehnquist, J., concurring). This often manifests itself in

areas where the field being regulated is “sufficiently technical” and

members of Congress are “not necessarily expert in the area.”               Id.

However, “the core of the legislative power that the Framers sought to

protect from consolidation with the executive is the power to make ‘law’


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in the Blackstonian sense of generally applicable rules of private

conduct.”   Ass’n of Am. R.R. at 1245 (Thomas, J., concurring in the

judgment). “When it came to legislative power, the framers understood

it to mean the power to adopt generally applicable rules of conduct

governing future actions by private persons—the power to ‘prescrib[e] the

rules by which the duties and rights of every citizen are to be regulated,’

or the power to ‘prescribe general rules for the government of society.”

Gundy, 139 S. Ct. at 2133 (Gorsuch, J., dissenting) (quoting The

Federalist No. 78).    Justice Thomas has elaborated on this view,

grounding it in Blackstone, Greek and Roman treatment of the rule of

law, English jurist Matthew Hale’s writings on the scope of monarchical

power, Lord Coke’s opinion in the Case of Proclamations, John Locke’s

Second Treatise of Civil Government, and James Madison’s views as

expressed in Federalist No. 47. See Ass’n of Am. R.R., 575 U.S. at 70-76

(Thomas, J., concurring in the judgment).

     Here, the Rule modifies a statutory definition determining the

scope of behavior subject to criminal prosecution. This is a paradigmatic

example of “adopt[ing] applicable rules of conduct governing future

actions by private persons.” Gundy, 139 S. Ct. at 2133 (Gorsuch, J.,


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dissenting). Statutes apply to the whole of the American people, and thus

they “prescrib[e] the rules by which the duties and rights of every citizen

are to be regulated.” Id. (quoting The Federalist No. 78). Altering their

meaning, therefore, is necessarily an inherently legislative activity.

     The Department relies heavily on Mistretta in suggesting

intelligibility is the only limiting principle on a delegation of power.

Appellees’ Br. at 25-26. But Mistretta involved the Sentencing Reform

Act of 1984, and the power it delegated to the United States Sentencing

Commission “to promulgate determinative-sentence guidelines,” acting

“as an independent commission in the judicial branch of the United

States.” 488 U.S. at 368-69 (quotation omitted) (emphasis added). That

case was also decided significantly before this Court had the opportunity

to address situations like the one at hand. See, e.g., Cargill v. Garland,

57 F.4th 447 (5th Cir. 2023). It is one thing for an agency to establish

judicial bodies with the power to standardize sentences for those who

have already committed crimes defined by Congress. It is quite another

to delegate the act of defining a crime (by definitively altering the

interpretation of a statutory term) to the unelected bureaucrats of an

executive agency. There is no reason to read Mistretta as requiring the


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Department be able to alter the scope of criminal liability to which

“future actions by private persons” are subject. Gundy, 139 S. Ct. at 2133

(Gorsuch, J., dissenting).

     Because the Rule vastly expands the statutes’ application to new

individuals, the present case is also distinguishable from the other cases

the Department cites.        It does not involve setting rates on already-

regulated commodities, see Yakus v. United States, 321 U.S. 414 (1944);

or determining the applicability of a crime-registration requirement to

already-convicted criminals, see Gundy, 139 S. Ct. at 2123-25; or

regulating licensure within a limited space over which Congress has

already asserted plenary authority, see National Broad. Co. v. United

States, 319 U.S. 190 (1943). Instead, this case in which an agency is

augmenting a statutory term by executive fiat, and thereby applying it

more expansively to the American citizenry at large. See Gundy, 139 S.

Ct. at 2123 (noting if the statute had granted the Attorney General

authority to determine the statute’s “applicability to [certain] offenders—

to require them to register, or not, as she sees fit, and to change her policy

for any reason and at any time,” as the Department effectively argues the




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NFA and GCA give it the authority to do, then the Court “would face a

nondelegation question”).

     This case presents this Court with the opportunity to clarify the

contours of inherently legislative activity, and thereby clarify when

delegations are impermissible.      Far from being bound to accept the

Department’s virtually limitless position giving no regard to the nature

of the delegated power, the Court may give proper meaning to the

acknowledged role the power’s nature must play in determining whether

it can be delegated at all. “Whether the statute delegates legislative

power is a question for the courts, and an agency’s voluntary self-denial

has no bearing upon the answer.” Whitman v. American Trucking Ass’ns,

531 U.S. 457, 473 (2001). This case also presents the Court with the most

appropriate place to draw the line: the reworking of a statutory term to

which criminal penalties attach, and which covers a vast swathe of the

American population. See, e.g., Mock v. Garland, 75 F.4th 563, 574 (5th

Cir. 2023) (noting under the Rule, “approximately 99% of pistols with

stabilizing braces would be classified as rifles”).




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     2. Congress did not provide the Department with an
        intelligible principle for promulgating the Rule.

     Even if Congress could delegate the authority the Department

claims it has (and it cannot), the statutes would still have to provide an

intelligible principle for their execution.          Despite the Department’s

resting its entire delegation theory on the existence of an intelligible

principle, Appellees’ Br. at 25-28, the statutes here do not provide one.

The Department argues “the NFA provides more than sufficient

standards to guide agency decision-making” because it (1) “sets forth a

clear federal policy,” (2) “authorizes the Attorney General to issue ‘all

needful rules and regulations for the enforcement’” of the statute, and (3)

provides a statutory definition of the arms it proscribes. Appellees’ Br.

at 27.    None of these arguments, however, ensures the Department

“exercises only executive power.” Jarkesy v. SEC, 34 F.4th 446, 461 (5th

Cir. 2023), cert. granted, 143 S. Ct. 2688 (June 30, 2023). Therefore, as

shown below, no intelligible principle exists to justify the Department’s

attempted regulation.

     First, the existence of a particular federal goal is unrelated to

whether the power an agency exercises is in fact executive. It is factually

possible for an agency to both execute and legislate in furtherance of a

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goal.    The relevant question is therefore not whether the statute

articulates a policy, but whether the statute directs an agency intelligibly

enough to ensure that agency is “only execut[ing]” its goal, and not adding

to the policy’s substance in the agency’s own discretion. Id.

        Second, the Department argues the NFA provides an intelligible

principle because it directs the Department to issue “all needful rules and

regulations.” Appellees’ Br. at 27 (quoting 26 U.S.C. § 7805(a)). But this

broad language does virtually nothing to ensure an agency “exercises

only executive power,” which is required for an intelligible principle.

Jarkesy, 34 F.4th at 461 (emphasis added). The term “needful” has a vast

and subjective meaning; it allows an agency to engage in virtually any

legislative action and simply claim it was necessary, as the Department

has done here. Because this language does not limit the Department to

executive activity, it does not provide an intelligible principle.

        Third, the Department suggests the statutory definitions of

“designed,” “made,” and “intended” to be fired from the shoulder are so

clear, they act as an intelligible principle adequately guiding the

Department’s exercise of power. But the touchstone for an intelligible

principle is not whether the guidance is adequate, but whether it ensures


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only executive (as opposed to legislative) activity will occur. Id. Although

these statutory definitions could support the mere execution of the

statutes, the Department does not use them for this purpose. Instead,

the Department attempts to alter their application and their very

meanings—a legislative activity.        In so doing, it reverses years of

precedent and criminalizes millions more Americans under the statutes.

See ROA.195, 258. For purposes of the Rule, therefore, the statutory

definitions have supplied no intelligible principle. Consequently, none of

the Department’s intelligible-principle arguments are availing.

  C. The Rule Exceeds the Department’s Statutory Authority.

     The statutes at issue here do not delegate the power to alter or

supplement their definitions, nor do they indicate any congressional

intention to do so. The Department maintains the Rule is merely the best

“interpretation” of the statutes’ terms. Appellees’ Br. at 19-20. Yet this

Court has already dismissed the notion the Rule is merely interpretive.

See Mock, 75 F.4th at 582-83. Nevertheless, the Department offers two

principal arguments upon this premise: (1) the Rule merely provides that

evidence shall be objective for what constitutes “designed,” “made,” and

“intended to be fired from the shoulder”; and (2) the Rule merely catalogs


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the type of evidence used to determine whether a firearm meets these

definitions. Appellees’ Br. at 20. But in reality the Rule does far more

than this: it augments the statutes’ terms to create new crimes, which

Congress did not—and could not—permit the Department to do. For the

reasons Watterson explained in his opening brief, Appellant’s Br. at 47-

49, Congress did not hide such “elephants in mouseholes,” West Virginia

v. EPA, 142 S. Ct. 2587, 2622 (2022), despite the Department’s

downplaying the Rule’s vast impact.

     First, the Department argues the Rule merely clarifies that

objective evidence will be used to determine whether a firearm comes

within the statutes’ scope, and therefore the Rule falls safely within the

statutes’ confines. Appellees’ Br. at 20-21. But this is a distraction.

Regardless of the manner in which the Department assesses evidence,

the statutes explicitly constrain it to looking for evidence a firearm is

“designed,” “made,” and “intended” to be fired from the shoulder. 26

U.S.C. § 5845(c); 18 U.S.C. § 921(a)(7). Such is the statutory limitation.

The terms do not cover any firearm that could be fired from the shoulder.

And, although the Department claims the Rule does not redefine the

terms this way, Appellees’ Br. at 22-24, practical reality shows otherwise.


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     Even though most pistols with stabilizing braces are designed,

made, and intended to be fired from the forearm and not the shoulder,

the Rule’s new “objective” assessment method miraculously sweeps “99%

of stabilizing braces on the market” within the statutes’ coverage, as this

Court has acknowledged. Mock, 75 F.4th at 583-84. It is clear, in light

of this drastic impact, any claim to be using “objective” evidence is in fact

a pretense providing the Department a platform to summarily define the

meaning of that evidence and criminalize 99% of stabilizing braces in

existence.

     Second, the Department uses this newfound authority to create

evidentiary criteria for defining its new crimes. The criteria are not

merely an evidentiary “catalog[]” as the Department argues, Appellees’

Br. at 20, 22, because cataloging or identifying evidence a firearm is

covered by the statutes would necessarily describe only firearms that are

already short-barreled rifles. The Rule’s new criteria reach millions of

firearms, and citizens, ROA.195, ROA.258, that have never previously

fallen within the statutes’ scope, and are in fact different weapons with

different stated purposes, used on different parts of the body, ROA.55-87,

199-201, 217-26. In fact, this was intentional: the Department wanted to


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address the “proliferation” of these new items. ROA.147. It is therefore

entirely more accurate to describe the Rule’s criteria as a set of factors

altering the substantive scope of statutory terms, rather than as a

“holistic” inquiry into the terms’ meaning.              The Department’s

characterizations to the contrary avoid discussing the Rule’s real-world

operation.

     Also consider the extra-statutory compliance options the Rule

creates.     See, e.g., Factoring Criteria for Firearms With Attached

“Stabilizing Braces,” 88 Fed. Reg. 6,478, 6,570-71 (Jan. 31, 2023)

(detailing the Rule’s compliance options, including “1. Remov[ing] the

short barrel … [2. Registering the firearm] … 3. Permanently remov[ing]

and dispos[ing] of, or alter[ing], the ‘stabilizing brace’ such that it cannot

be reattached … 4. Turn[ing] the firearm into [the] local ATF office … 5.

Destroying the firearm”). See also Mock, 75 F.4th at 581 (discussing the

compliance scheme). They are an expression of pure policymaking. The

compliance options cannot even be disguised as “interpretation” because

they are found nowhere in the statutes, they independently govern

private conduct, and they reflect the Department’s own judgment about

how to ensure individuals comply with federal policy. The legislative


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judgment of compliance policy belongs in the statutes, which did not

express such judgment here. 4 This is even clearer given the GCA grants

the Department the authority to remove certain weapons from the

definition of “firearm,” a discrepancy which the Department completely

evades in its response. See 26 U.S.C. § 5845(a).

III. THE REMAINING EQUITABLE FACTORS SUPPORT RELIEF.

   A. Irreparable Harm.

      The Department claims Watterson does not face irreparable harm.

Appellees’ Br. at 40-45. Namely, it argues (1) the Northern District of

Texas’s stay in Britto v. ATF, No. 23-CV-19, 2023 WL 7418291 (N.D. Tex.

Nov. 8, 2023) undermines the ongoing irreparable harm Watterson faces

due to the Department’s threat of prosecution; (2) Watterson’s

constitutional injuries do not amount to irreparable harm; (3) the

compliance costs Watterson faces are de minimis and otherwise can be

recovered; and (4) Watterson’s ability to comply with the Rule negates

the irreparable harm he faces. As shown below, each argument is flawed.




4 Notably, Watterson does not challenge the compliance options themselves, so the

Department’s standing arguments here are inapposite. The compliance options are
simply glaring evidence that the Rule exceeds its statutory authority.
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     First, Watterson faces irreparable harm despite the Britto stay.

This is because the Britto plaintiffs did not request that court to enjoin

prosecution of the statutes in alignment with the Rule, as Watterson did.

Compare Compl., ECF No. 1, at 21, Britto, 2023 WL 7418291 (N.D. Tex.

Jan. 31, 2023) with ROA.52. Consequently, the Department is free to

prosecute Watterson for possession of a short-barreled rifle under the

statutes regardless of whether the Rule itself is stayed or not. And in

fact, it intends to. The Department has already indicated its belief that

Watterson’s specific brace will transform his firearm into a short-

barreled rifle. ROA.205. And because the Rule is merely the “best

interpretation of the statutes” according to the Department, Appellees’

Br. at 19-20, it will come as no surprise the Department will prosecute

Watterson in line with the Rule even if the Rule itself is not operative,

unless it is enjoined from doing so. Therefore, although the Britto stay

grants broad relief, it does not obviate Watterson’s irreparable harm.

     Second, the Department argues Opulent Life Church v. City of Holly

Springs, 697 F.3d 279 (5th Cir. 2012) does not support the fact that

allegations of constitutional harm may satisfy the irreparable-harm

requirement, Appellees’ Br. at 42, but the case itself explains otherwise.


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Opulent Life, 697 F.3d at 295-96 (“Opulent Life has satisfied the

irreparable-harm requirement because it has alleged violations of its”

constitutional rights).    The Department also attempts to distinguish

Opulent Life on the basis that the Court there examined a much more

complete record. Appellees’ Br. at 42. But the Court looked to the record

in that case only after it had determined irreparable harm existed, and

only “assuming arguendo that [it was] required” to do so. Opulent Life,

697 F.3d at 296. In any case, “the record [here, too] is replete with

evidence of irreparable harm.” Id. And although Opulent Life is a free-

exercise case, the Department itself asserts parallels between the First

and Second Amendments, Appellees’ Br. at 36, and this Court has

recognized that constitutional injuries beyond the First Amendment and

even beyond the Bill of Rights still “unquestionably constitute[]

irreparable injury.” BST Holdings, L.L.C. v. OSHA, 17 F.4th 604, 618

(5th Cir. 2021). See also Trans World Airlines v. Mattox, 897 F.2d 773,

783 (5th Cir. 1990).        Here, the Department’s conduct both chills

Watterson’s Second Amendment rights and infringes on his right to be

regulated within a constitutional framework.




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     Third, the Department’s argument the Rule only imposes de

minimis burdens on Watterson is unavailing. Appellees’ Br. at 42-43.

The Rule subjects Watterson to a tax for attaching his stabilizing brace

to his pistol. See 26 U.S.C. § 5821(a). This tax was specifically and

intentionally designed to make covered firearms prohibitively expensive.

ROA.260; see also Mock, 75 F.4th at 569-70. This Court should not accept

the Department’s advancement of a substantial cost-burden policy on the

one hand, and also accept the Department’s arguments that that cost is

de minimis on the other.      Both simply cannot be true.          Moreover,

Watterson’s compliance costs are also not de minimis. See Rest. Law Ctr.

v. United States DOL, 66 F.4th 593, 597 (5th Cir. 2023) (“the

nonrecoverable costs of complying with a putatively invalid regulation

typically constitute irreparable harm.”).

     Fourth, the Department suggests, mystifyingly, that “so long as he

complies with the NFA’s requirements,” Watterson “suffers [no]

irreparable harm based on the perceived threat of prosecution.”

Appellees’ Br. at 44. In other words, the Department argues that so long

as an individual complies with a government restriction, that restriction

imposes no obstacle. On top of the authoritarian implications of this


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argument on its face, the Supreme Court has condemned the Hobson’s

Choice of “plac[ing a] hapless plaintiff between the Scylla of intentionally

flouting [the] law and the Charybdis of forgoing what he believes to be

constitutionally protected activity in order to avoid becoming enmeshed

in criminal proceeding.” Steffel v. Thompson, 415 U.S. 452, 462 (1974)

(Stewart, J., concurring). Watterson’s potential compliance with the Rule

has nothing to do with the harm it imposes. The Department argues

unpersuasively that Watterson is not currently facing ongoing

irreparable harm.

  B. Balance of the Equities and Public Interest.

     The Department also argues the balance of the equities and the

public interest weigh against granting a preliminary injunction primarily

because (1) the first two preliminary-injunction factors do not

automatically determine the last two, and (2) the Rule promotes public

safety in Congress’s judgment. Once again, this is incorrect.

     First,   as Watterson     has     stated,     the   “enforcement        of   an

unconstitutional law is always contrary to the public interest” because

“the Constitution is the ultimate expression” of that interest. Gordon v.

Holder, 721 F.3d 638, 653 (D.C. Cir. 2013) (quotations omitted); see


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Appellant’s Br. at 57-58. Furthermore, as statutes manifest an even

more direct expression of the public will, there is no public “interest in

enforcing a regulation that violates federal law.” All. for Hippocratic

Med. v. FDA, 78 F.4th 210, 252 (5th Cir. 2023). Therefore, no matter the

objective the government asserts, it must be implemented lawfully to be

in the public interest. See R.J. Reynolds Vapor Co. v. FDA, 65 F.4th 182,

195 (5th Cir. 2023); Britto, 2023 U.S. Dist. LEXIS 200933, at *13. This

does not “discount[] public-interest equities” as the Department

incorrectly emphasizes, Appellees’ Br. at 46, but rather illustrates why

the equities and public-interest factors naturally flow in favor of a party

suffering irreparable harm from a likely constitutional injury.

Accordingly, the Department’s discussion of Winter v. NRDC, 555 U.S. 7

(2008) is inapposite, especially in light of the glaring distinction that it

involved the interests of sea mammals rather than the constitutional

rights of human beings.

     Second, the Department argues as if the Court should balance

Watterson’s assessments about public safety against Congress’s (and

defer to Congress’s), Appellees’ Br. at 48, but this obfuscates the proper

inquiry. At least for purposes of a stay of the Rule, the equities and


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public-interest inquiry does not concern Congress’s judgment as

expressed in the statutes concerning short-barreled rifles, but instead

concerns the Department’s judgment as expressed in the Rule concerning

pistols with attached stabilizing braces. If the Department wishes to

justify the Rule (which it evades doing in this discussion), it may not

simply impute arguments about the safety of short-barreled rifles. The

reality is stabilizing braces on pistols are no significant threat to public

safety. See Appellant’s Br. at 60-61. The Rule therefore would not be in

the public interest even if it did not violate the Constitution or the

statutes.     Moreover, the Department’s public-safety argument also

effectively sidesteps Bruen’s clear instruction that courts no longer

balance interests when analyzing Second Amendment claims. 597 U.S.

at 19.

IV.   THIS COURT SHOULD INSTRUCT THE DISTRICT COURT TO ISSUE
      BOTH EQUITABLE AND STATUTORY RELIEF.

      The Department argues Watterson’s request for relief is too broad

and thus contravenes the principles of equity. But both equitable and

broader statutory relief are necessary to address Watterson’s injuries.

      Watterson requires an injunction against the Department to ensure

it does not enforce the statutes in accordance with the Rule even if the

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Rule itself is stayed. Because the Department has indicated the Rule is

merely the “best interpretation of the statutes,” Appellees’ Br. at 19-20,

and because it believes Watterson’s specific brace will transform his

firearm into a short-barreled rifle, ROA.205, an injunction against the

Department itself from prosecuting the statutes in accordance with the

Rule is necessary to protect Watterson from prosecution, regardless of

whether the Rule remains in effect.

     Furthermore, Department continuously conflates the statutory

stay provided in 5 U.S.C. § 705 with a nationwide injunction. Watterson

does not demand purely equitable relief, like a nationwide injunction,

beyond the bounds of his own case. Instead, he seeks to avail himself of

the remedy Congress provided for the very circumstances at issue here,

where an executive agency acts in excess of its statutory and

constitutional authority and “adversely affect[s]” a plaintiff. 5 U.S.C.

§ 702. Indeed, the Department’s position asks this Court to ignore the

text of the APA, which allows “the reviewing court … [to] issue all

necessary and appropriate process to postpone the effective date of an

agency action.” Id. at § 705 (emphasis added). The fact that the statutory

remedy is broader than a purely equitable remedy does not undermine


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Watterson’s need for it.     Additionally, the fact that the statute also

provides for equitable relief does not mean the entire statutory remedy is

limited by the principles of equity; it is still statutory.

      This Court should also stay the Rule pursuant to 5 U.S.C. § 705 to

protect Watterson from the harms that only a stay can address. A stay

in this case is necessary despite the existence of the Britto stay because

that stay could terminate at any time. This would require Watterson to

re-petition this Court for complete relief, as he needed to petition the

district court to modify his motion for preliminary injunction after it

expired with the Mock decision, which unnecessarily complicated this

case. See ROA.880-95. A stay, and only a stay, also assuages the threat

of state prosecution, whereas an injunction in this case can only prevent

federal agents from enforcing federal law.             See Tex. Pen. Code

§ 46.05(a)(1) (hinging a state crime on NFA registration). And only a stay

can undo the Rule’s revocation of the Department’s previous letters

classifying Watterson’s brace as not violative of the statutes, see ROA.55-

87, which create a reliance interest and thus a defense for possessing a

pistol with an attached stabilizing brace. This Court should therefore

recognize Watterson’s need for both equitable and statutory relief.


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                                CONCLUSION

     For the foregoing reasons, this Court should reverse the district

court’s denial of Watterson’s motion for a preliminary injunction and

stay, grant that motion, and remand this case to the district court for a

decision on the merits.

Dated: May 15, 2024,                Respectfully submitted,

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                       CERTIFICATE OF COMPLIANCE

     I certify that this document complies with the typeface, type-style,

and length requirements in 5th Circuit Rule 27.4 and Federal Rules of

Appellate Procedure 27(d)(1)(E), (d)(2)(A) and 32(a)(5), (6) because it is in

14-point Century Schoolbook font and contains 6480 words, excluding the

parts exempted by Federal Rules of Appellate Procedure 32(f).

                                   /s/ Matthew Miller
                                   Matthew Miller




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                       CERTIFICATE OF SERVICE

     I hereby certify that, on May 15, 2024, a copy of the foregoing

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who are registered CM/ECF users.


                                 /s/ Matthew Miller
                                 Matthew Miller




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